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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                          Chapter 15

PERFORADORA ORO NEGRO, S. DE R.L. DE C.V., Case No. 18-11094 (SCC) (Jointly
et al.                                     Administered)

Debtors in a Foreign Proceeding.
GONZALO GIL-WHITE, PERSONALLY AND IN            Adv. Pro. No. 19-1294(SCC)
HIS CAPACITY AS FOREIGN REPRESENTATIVE
of PERFORADORA ORO NEGRO, S. DE R.L. DE
C.V. AND INTEGRADORA DE SERVICIOS
PETROLEROS ORO NEGRO, S.A.P.I. DE C.V.

                         Plaintiff,

                  -against-

ALP ERCIL; ALTERNA CAPITAL PARTNERS,
LLC; AMA CAPITAL PARTNERS, LLC; ANDRES
CONSTANTIN ANTONIUS-GONZÁLEZ; ASIA
RESEARCH AND CAPITAL MANAGEMENT LTD.;
CQS (UK) LLP; FINTECH ADVISORY, INC.;
DEUTSCHE BANK MEXICO, S.A., INSTITUCIÓN
DE BANCA MÚLTIPLE; GARCÍA GONZÁLEZ Y
BARRADAS ABOGADOS, S.C.; GHL
INVESTMENTS (EUROPE) LTD.; JOHN
FREDRIKSEN; KRISTAN BODDEN; MARITIME
FINANCE COMPANY LTD.; NOEL BLAIR
HUNTER COCHRANE, JR; ORO NEGRO PRIMUS
PTE., LTD.; ORO NEGRO LAURUS PTE., LTD.;
ORO NEGRO FORTIUS PTE., LTD.; ORO NEGRO
DECUS PTE., LTD.; ORO NEGRO IMPETUS PTE.,
LTD.; PAUL MATISON LEAND, JR.; ROGER
ALAN BARTLETT; ROGER ARNOLD HANCOCK;
SEADRILL LIMITED; SHIP FINANCE
INTERNATIONAL LTD.; and DOES 1-100

                         Defendants.

                     NOTICE OF APPEARANCE AND
                   REQUEST FOR SERVICE OF PAPERS
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               PLEASE TAKE NOTICE that the undersigned hereby enter their appearance as

counsel to Alterna Capital Partners, LLC, AMA Capital Partners, LLC, Maritime Finance

Company Ltd., Kristan Bodden, Paul Matison Leand, Jr., Asia Research and Capital

Management, Ltd., CQS (UK) LLP, Alp Ercil, GHL Investments (Europe) Ltd., Ship Finance

International Ltd. (the “Ad Hoc Defendants”) in the above-captioned Adversary Proceeding

pursuant to, inter alia, Rules 7005, 9007, and 9010 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and request that all notices given or required to be given

and all papers served in this case be delivered to an served upon the following:

               Andrew N. Rosenberg (arosenberg@paulweiss.com)
               Aidan Synnott (asynnott@paulweiss.com)
               William A. Clareman (wclareman@paulweiss.com)
               Claudia R. Tobler (ctobler@paulweiss.com)
               Christopher Hopkins (chopkins@paulweiss.com)
               Crystal Johnson (cjohnson@paulweiss.com)
               PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
               1285 Avenue of the Americas
               New York, New York 10019-6064
               Telephone: (212) 373-3000
               Facsimile: (212) 757-3990

               PLEASE TAKE FURTHER NOTICE that this request includes not only the

notices and papers referred to in the Bankruptcy Code and the Bankruptcy Rules specified above,

but also includes, without limitation, orders, notices, applications, motions, petitions, pleadings,

requests, complaints, demands, letters, objections, replies, answers, schedules of assets and

liabilities and statements of financial affairs, operating reports, plans of reorganization and

liquidation, and disclosure statements, whether formal or informal, whether written or oral, and

whether transmitted or conveyed by mail, courier service, hand delivery, telephone, facsimile

transmission, or otherwise.




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               PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance

nor any prior or subsequent appearance, pleading, claim, or suit is intended or shall be deemed to

waive any right of the Ad Hoc Defendants to (i) have final orders in non-core matters entered

only after de novo review by a higher court; (ii) trial by jury in any proceeding so triable in this

case or any case, controversy, or proceeding related to this case; (iii) have the United States

District Court withdraw the reference in any matter subject to mandatory or discretionary

withdrawal; (iv) contest the subject matter jurisdiction of the United States Bankruptcy Court for

the Southern District of New York with respect to any proceeding commenced in this case

against or otherwise involving the Ad Hoc Defendants, including for the reasons stated in the Ad

Hoc Defendants’ Motion to Dismiss the Complaint (Dkt. 29); (v) contest the existence of

personal jurisdiction over Asia Research and Capital Management, Ltd., Alp Ercil, CQS (UK)

LLP, GHL Investments (Europe) Ltd., and Ship Finance International Ltd. (the “Foreign

Defendants”), for the reasons stated in the Foreign Defendants’ Motion to Dismiss the Complaint

for Lack of Personal Jurisdiction (Dkt. 26); or (vi) any and all rights, claims, actions, defenses,

setoffs, recoupments, or remedies to which the Ad Hoc Defendants are or may be entitled under

agreements, in law or in equity, any and all of which are expressly reserved hereby.




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Dated: September 30, 2019    PAUL, WEISS, RIFKIND, WHARTON &
       New York, New York    GARRISON LLP



                             By:    /s/ William A. Clareman
                             Andrew N. Rosenberg (arosenberg@paulweiss.com)
                             Aidan Synnott (asynnott@paulweiss.com)
                             William A. Clareman (wclareman@paulweiss.com)
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                             Attorneys for the Ad Hoc Defendants




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